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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA


_______________________________________
                                                      )
IN RE                                                 )
LINERBOARD ANTITRUST LITIGATION                       ) MDL NO. 1261
                                                      ) Judge Jan E. DuBois
_______________________________________               )
                                                      )
This Document Relates To                              )
Civil Action Numbers 98-5055 and 99-1341              )
_______________________________________               )


    MOTION OF CLASS COUNSEL FOR AUTHORIZATION OF INITIAL
  DISBURSEMENT OF FUNDS TO THE CLASS, FOR AUTHORIZATION TO
   PAY CERTAIN LATE CLAIMS, AND FOR INTERIM PAYMENT OF THE
                    CLAIMS ADMINISTRATOR

      Class counsel respectfully moves the Court for an Order approving the initial

disbursement of the settlement funds to the class. This motion is based upon the attached

report of Heffler, Radetich & Saitta L.L.P., the accounting firm appointed by the Court as

the claims administrator in this action (hereinafter “the claims administrator”). In support

                      of said motion Class Counsel avers as follows:

   Initial Disbursement to the Class and Establishment of A Contingency Reserve

       1.      Class Counsel has been advised by the claims administrator that its review

and audit of claims has sufficiently advanced to warrant an initial distribution of the

settlement funds to the class. The claims administrator recommends that ninety (90%)

percent of the settlement fund be disbursed at this time and that ten (10%) percent of the

fund be held back as a contingency fund to meet the remaining obligations such as

payment of unresolved claims, taxes and payment of administration costs. This motion is
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based upon the claims administrator’s report to lead counsel attached hereto as Exhibit

“A.”

       2.       3,540 claims representing $8,161,263,503.00 in purchases have been

recommended by the claims administrator for payment. A list of such claims and their

approved purchases, titled “Payable Claims,” is attached as Exhibit 1 to the claims

administrator’s report.

       3.       140 claims representing $211,607,766 in claimed purchases have been

recommended by the claims administrator as non-payable claims because these claims

did not meet class criteria. A list of such claims and the reasons for their disallowance,

titled “Non-Payable Claims,” is attached as Exhibit 2 to the claims administrator’s report.

       4.       70 claims representing a maximum of $439,219,984.00 in purchases

remain in the audit process. The claims administrator is still attempting to resolve the

issues relating to such claims but recommends that initial disbursement be made at this

time to all approved claims. A list of such claims and their claimed purchases, titled

“Claims In (or Potentially In) Dispute,” is attached as Exhibit 3 to the claims

administrator’s report.

       5.       The claims administrator is certain that the contingency fund held back

will be sufficient to meet all claims that remain unresolved as well as all other anticipated

obligations of the fund.

       6.       The claims administrator believes that the majority of the remaining

unresolved claims will be resolved administratively without the necessity of court

intervention.
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         7.       The claims administrator and class counsel recommend that the initial

disbursement be calculated as follows. Ninety (90%) percent of the net settlement fund

on the date of this Court’s approval of the present motion be established as the initial

disbursement fund and that fund shall be allocated pro rata to those class members listed

on Exhibit 1 to the claims administrator’s report based on the approved claimed

purchases appearing on that exhibit.

                Late Filed Claims Received On or Before January 28, 2005.

         8.       The claims administrator recommends approval of 161 late claims filed

after the claims period. These claimants have been included as Payable Claims in Exhibit

1. Class counsel concurs in this recommendation. A list of all late claimants is attached

as Exhibit 8 to the claims administrator’s report.1 The claims administrator avers that the

processing of late claims has not disrupted the claims approval process. The Third Circuit

and the Manual for Complex Litigation both strongly favor approval of late claims under

such circumstances. See, e.g. In re Cendant Corp. Prides Litigation, 311 F.3d 298,

305 (3d Cir.2002):

                  Even assuming that Chase received the letters of July and
                  August 1999, we point out that the delay between the due
                  date of August 8, 1999 and January 4, 2000 when Valley
                  Forge was given the requested data is not beyond the pale.
                  In In re O'Brien Envtl. Energy, Inc., 188 F.3d 116, 130 (3d
                  Cir.1999), we observed that Pioneer [Inv. Services Co. v.
                  Brunswick Associates Ltd. Partnership 507 U.S. 380, 113
                  S.Ct. 1489 (1993)] teaches that delay should be considered
                  in absolute terms, and that two months was not prohibitive.
                  See also Chemetron Corp. v. Jones, 72 F.3d 341 (3d
                  Cir.1995) (claim two years late could be excusable). In re
                  Orthopedic Bone Screw Products Liab. Litig., 246 F.3d 315
                  (3d Cir.2001) (seven month delay held excusable).


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  The claims administrator’s report recommends rejection of 16 late filed claims for reasons other than late
filing. Twenty late filed claims remain in the audit/dispute resolution process.
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See also, Manual for Complex Litigation § 21.662 ("Adequate time should be allowed for

late claims before any refund or other disposition of settlement funds occurs.").

                       Resolution of Claims Still in Audit or Dispute

          9.     Within forty-five days class counsel and the claims administrator will

report to the Court on the status of all remaining claims and recommend procedures for

resolution of any remaining disputed claims either directly by the Court or by a special

master.

                                  Accounting of Class Fund

          10.    Attached as Exhibit 7 to the claims administrator’s report is an accounting

of the settlement fund to date.

                  Second Interim Payment of The Claims Administrator

          11.    Class Counsel has reviewed the invoice of the claims administrator

attached as Exhibit 9 to the claims administrator’s report, and recommends approval of

payment of such invoices.

          Wherefore class counsel respectfully urges that the appended order be entered:

           (a) Authorizing initial disbursement of the settlement fund to class members;

           (b) Approving payment of the late claims received through January 28, 2005;

           (c) Approving the accounting of the class funds to date; and

           (d) Authorizing payment of the claims administrator’s invoices to date.

                                                      Respectfully submitted,


                                                      ______________________
                                                      Howard Langer (HL734)
                                                      Langer & Grogan, P.C.
                                                      1600 Market Street
                                                      Suite 2020
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                                         Philadelphia, PA 19103
                                         215-419-6536
Dated: February 3, 2005                  Fax: 215-419-6546
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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA


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                                                   )
IN RE                                              )
LINERBOARD ANTITRUST LITIGATION                    ) MDL NO. 1261
                                                   ) Judge Jan E. DuBois
_______________________________________            )
                                                   )
This Document Relates To                           )
Civil Action Numbers 98-5055 and 99-1341           )
_______________________________________            )


                            CERTIFICATE OF SERVICE

       I, Howard Langer, Esquire, hereby certify that on February 3, 2005 copies of the

attached Motion Of Class Counsel For Authorization Of Initial Disbursement Of Funds

To The Class, For Authorization To Pay Certain Late Claims, And For Interim Payment

Of The Claims Administrator was served upon counsel listed below via hand-delivery.

                             Sherry A. Swirsky, Esquire
                             Schnader Harrison Segal & Lewis, LLP
                             1600 Market Street
                             Suite 3600
                             Philadelphia, PA 19103-7286



                                            ____________________________
                                            Howard Langer (HL734)
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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF PENNSYLVANIA


_______________________________________
                                                        )
IN RE                                                   )
LINERBOARD ANTITRUST LITIGATION                         ) MDL NO. 1261
                                                        ) Judge Jan E. DuBois
_______________________________________                 )
                                                        )
This Document Relates To                                )
Civil Action Numbers 98-5055 and 99-1341                )
_______________________________________                 )


                                                ORDER

       AND NOW, this                         day of February, 2005 upon consideration of the

Motion Of Class Counsel For Authorization Of Initial Disbursement Of Funds To The

Class, For Authorization To Pay Certain Late Claims, And For Interim Payment Of The

Claims Administrator, and upon consideration of the Report of the Claims Administrator

dated February 2, 2005, attached as Exhibit “A” to said motion (hereinafter “the claims

administrator’s report”), and following a hearing on February 10, 2005 at which Michael

T. Bancroft C.P.A., the accountant overseeing the claims administration appeared, it is

hereby ordered and decreed as follows:

       1.      This Court has reviewed the audit process and accompanying notice

process employed by the claims administrator and therefore approves the claims

administrator’s recommendation for initial disbursement of the settlement fund. The

claims administrator is directed to make the initial disbursement to approved claimants

within thirty days of entry of this order.

       2.      The disbursement shall be calculated as follows:
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                a. The claims administrator shall calculate an amount representing ninety

        (90%) percent of the net settlement as of the date of entry of this order (the net

        settlement fund being the settlement fund net of any payment of the claims

        administrator’s fees authorized by this order). This amount shall be known as the

        initial distribution fund.

                b. The initial distribution fund shall be distributed pro-rata to the

        approved claimants listed on Exhibit 1 hereto based on the proportion each

        approved claim bears to the total of all approved claims appearing on Exhibit 1.

        3.      Late claims received before January 28, 2005 shall be processed and paid

as though received before the cut-off date.

        4.      Liaison Counsel for the class plaintiffs is directed to file a report to the

Court, forty-five days following entry of this Order, regarding the unresolved claims

reported in the claims administrator’s report. The report shall both report on the

resolution of such claims, the status of any unresolved claims and shall provide Liaison

Counsel’s recommendation regarding procedures for resolving any claims unresolved as

of that time.

        5.      The accounting attached as Exhibit 7 to the claims administrator’s report

is approved.

        6.      The request of the claims administrator for interim payment of its fees is

approved in the amount of $________________.



                                                        _____________________________
                                                        Hon. Jan E. DuBois
